                                 Case 1:24-po-00026-CL                                                  Document 3                   Filed 01/12/24   Page 1 of 2

       United States District Court                                                  CVB Location Code

            Violation Notice                                                        OR17

Violation Number                        Officer Name                                     Officer No.
FBMH003N                                Bugosh                                           2416




                                                                                                                          FBMH003N
YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
Date and Time of Offense (mm/dd/yyyy)                      Offense Charged
10/18/2023 14:31                                           FED 36 CFR 261.54D

Place of Offense
HIGHWAY 199; TOP OF HAYE'S HIL

Offense Description: Factual Basis for Charge                                               HAZMAT
DRIVING WHILE LICENSE SUSPENDED-VIOLATION




                                                                            Phone:
DEFENDANT INFORMATION
Last Name                                                First Name                                        M.I.
LEE                                                      JENNIFER                                          E

Street Address



City                                  State              Zip Code                        Date of Birth (mm/dd/yyyy)



Drivers License No.                     CDL                  D.L. State                       Social Security No.



                                                      Race          Hair          Eyes           Height           Weight
    Adult       Juvenile Sex            M        F

                            VIN:                                                                               CMV
VEHICLE
Tag No.               State         Year             Make/Model               PASS                Color
WHA865                 OR             1998           FORD/Ranger                                    GRN

A           IF BOX A IS CHECKED, YOU                         B X       IF BOX B IS CHECKED, YOU MUST
            MUST APPEAR IN COURT.                                      PAY AMOUNT INDICATED BELOW
             SEE INSTRUCTIONS (opposite).                              OR APPEAR IN COURT.
                                                                       SEE INSTRUCTIONS (opposite).


                                                                      $ 150.00               Forfeiture Amount

                                                                       $ 30.00               Processing Fee

                   PAY THIS AMOUNT                                    $ 180.00               Total Collateral Due


                                            YOUR COURT DATE
               (If no court appearance date is shown, you will be notified of your appearance date by mail.)

Court Address                                                                        Date (mm/dd/yyyy)


                                                                                     Time (hh:mm)


My signature signifies that I have received a copy of this violation notice. It is not an admission of guilt.I promise to appear
for the hearing at the time and place instructed or pay the total collateral due.


X Defendant Signature

Previous edition is obsolete                Original - CVB Copy                     FS-5300-4 (7/05)
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 FBMH003N

                       STATEMENT OF PROBABLE CAUSE
                        (For issuance of an arrest warrant or summons)

I state that on         10/18/2023          while exercising my duties as a law enforcement

officer in the                                         District of                OR




Pursuant to 16USC 551:
On October 18, 2023 at approximately 1430 hours I was on duty and in uniform driving a
marked patrol vehicle upon State Highway 199 within the boundaries of the Rogue River-
Siskiyou National Forest within the county of Josephine. I am a sworn special deputy in the
county of Josephine.

I observed a green Ford pickup truck with Oregon license WHA865 driving upon the
roadway in a northerly direction. I observed that the vehicle's registration sticker was
expired as of 2021. I further confirmed this observation by querying the license plate
number through my county issued mobile data tablet.

I activated my emergency lights and conducted a traffic stop on the vehicle at the top of
Haye's Hill near Briggs Valley Road. I approached and identified myself as a law
enforcement officer and informed the driver of the reason for my stop. The driver identified
herself by Oregon State ID Card as JENNIFER LEE. LEE stated she had never tried to
update the registration since they received the vehicle from her husband's deceased
brother.

I asked LEE to produce proof of insurance and inquired whether she had a valid driver's
license. LEE stated she did not have a valid license nor did she possess current insurance
on the vehilce. A query through dispatch informed me that LEE was suspended at the
violation level.

I issued LEE a violation notice for 36CFR261.54(d) Driving While License Suspended-
Violation. I issued LEE an additional violation notice for driving without insurance. I issued
LEE a verbal warning for failure to renew registration and driving with an obstructed
windshield.



The foregoing statement is based upon:

      MY PERSONAL INVESTIGATION

I declare under penalty of perjury that the information which I have set forth above
and on the face of this violation notice is true and correct to the best of my knowledge.


 Executed on:
                        10/18/2023
                        Date (mm/dd/yyyy)             Officer's Signature


     Probable cause has been stated for the issuance of a warrant.



 Executed on:      _________________________________________________________________

                        Date (mm/dd/yyyy)             U.S. Magistrate Judge




HAZMAT = Hazardous material involved in incident;     PASS = 9 or more passenger vehicle;

CDL = Commercial drivers license;                     CMV = Commercial vehicle involved in incident
